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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                      Plaintiff(s),                 CASE NUMBER: 05-80025
                                                    HONORABLE VICTORIA A. ROBERTS
v.

D-1 TIMOTHY DENNIS O’REILLY,

                Defendant(s).
_________________________________/

                                           ORDER

I.     BACKGROUND AND PROCEDURAL HISTORY

       On November 1, 2006, the Government filed a Notice of Intent to Seek the Death

Penalty as to Timothy Dennis O’Reilly. In the Notice, the Government alleges three

statutory aggravating factors:

       (1)    Defendant intentionally killed the victim.

       (2)    Defendant intentionally inflicted serious bodily injury that resulted in
              the death of the victim.

       (3)    Defendant intentionally participated in an act, contemplating that
              the life of a person would be taken or intending that lethal force
              would be used in connection with a person, other than one of the
              participants in the offense, and the victim died as a direct result of
              the act.

In addition, the Government alleges a non-statutory aggravating factor:

       Defendant shot Norman Stephens from behind, and while Stephens was
       already wounded and on the ground.

       O’Reilly’s co-Defendant, Earl Johnson, went to trial on October 29, 2007. At

Johnson’s trial, the parties stipulated that:


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       “Dr. Lai Lavati[sic], Assistant Medical Examiner for Wayne County[,]
       performed an autopsy on Steven’s[sic] body on December 14, 2001. Dr.
       Lavati[sic] found that Stevens[sic] died as the result of two shotgun
       wounds, one to his back and the other to the back of his legs. Dr.
       Lavati[sic] found no evidence of close range firing noted on Stevens’[sic]
       skin.

       In the doctor’s opinion, based on the diameter of the pellet spreads, one
       shot was fired from a distance of approximately 57 feet and the other was
       fired from approximately 46 and a half feet.

       The shotgun wound to Stevens’[sic] back was fatal and severed his spinal
       cord, resulting in his being incapable of voluntary movement of his legs.
       The shotgun wound to the back of Stevens’[sic] legs was likewise fatal
       and would have also rendered him incapable of voluntary movement of his
       legs.

       Toxicology testing indicated that Stevens’[sic] blood was free from any
       drugs or alcohol.”

Tr. Transcript, Volume One, p.144-145.

       Before the Court is O’Reilly’s Motion to Strike Specifications of the Government’s

Notice of Intent to Seek the Death Penalty. (Doc. #379). O’Reilly seeks a hearing on

this motion. Following the hearing, O’Reilly asks the Court to strike the statutory and

non-statutory aggravating factors mentioned above based on the stipulation entered into

at Johnson’s trial.

II.    ARGUMENTS AND ANALYSIS

       O’Reilly says the Court should strike the statutory and non-statutory aggravating

factors from the Notice because: (1) they are false; (2) they are factually inaccurate; (3)

they are inconsistent with the stipulation; (4) they are not supported by sufficient

evidence; (5) O’Reilly could receive an unreliable, unfair, and arbitrary sentence; (6)

they violate the Fifth and Eighth Amendments; (7) they violate the basic principles of

fairness and the heightened need for reliability in the capital context; (8) they

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impermissibly weigh in favor of death; (9) a reasonable jury could not find the statutory

factors beyond a reasonable doubt; (10) the fact that the gun was fired from

approximately 50 feet away eliminates the possibility that O’Reilly (a) intentionally killed

Stephens (b) intentionally inflicted serious bodily injury and (c) contemplated that

Stephens’s life would be taken; and (11) the non-statutory aggravating factor lacks

probative value and is unfairly prejudicial.

       O’Reilly relies on United States v. Baskerville, 491 F.Supp.2d 516 (D.N.J. 2007).

In Baskerville, the defendant asked the court to strike the statutory aggravating factor

alleging he:

       intentionally and specifically engaged in an act of violence, knowing that
       the act created a grave risk of death to a person, other than one of the
       participants in the offense, such that participation in the act constituted a
       reckless disregard for human life and the victim died as a direct result of
       the act.

Baskerville, 491 F.Supp.2d at 519 (quoting 18 U.S.C. §3591(a)(2)(D)). The court struck

this aggravating factor. It concluded that a reasonable jury could not find defendant

“specifically engaged in an act of violence” because defendant’s act of ordering the

victim killed lacked the physical force element contemplated by §3591(a)(2)(D). Id. at

522; see also Taylor v. Mitchell, 296 F.Supp.2d 784, 819-834 (N.D. Ohio 2003) (finding

there was insufficient evidence for a reasonable jury to find petitioner had a prior

calculation and design to kill the victim, an element necessary to elevate a murder

charge to aggravated murder).

       A.      Statutory Aggravating Factors

               1.    O’Reilly Intentionally Killed Stephens; and O’Reilly
                     Intentionally Inflicted Serious Bodily Injury that Resulted in


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                      Stephens’s Death

       On February 6, 2004, O’Reilly began serving a two-year sentence for possession

of firearms. On December 14, 2004, O’Reilly made incriminating statements to another

inmate that were recorded. O’Reilly’s taped confession says:

1.     Stephens’s action of reaching for his gun caused O’Reilly to shoot Stephens.

2.     Co-Defendant Kevin Watson shot Stephens first, and O’Reilly followed up with
       shots.

3.     Stephens chose to die when he reached for his gun.

4.     Stephens may have lived if he had got down on the ground.

5.     Stephens threatened O’Reilly’s life when he reached for his gun.

       O’Reilly’s confession – which the Court previously ruled is admissible – provides

sufficient evidence for a reasonable jury to find beyond a reasonable doubt that O’Reilly

either intentionally killed Stephens, or intentionally inflicted serious bodily injury that

resulted in Stephens’s death. The fact that Stephens was shot from a considerable

distance is not conclusive proof that O’Reilly did not intentionally kill Stephens or

intentionally inflict serious bodily injury that resulted in Stephens’s death.

       O’Reilly’s motion to strike these two statutory aggravating factors is DENIED.

              2.      O’Reilly Intentionally Participated in an Act, Contemplating
                      that an Individual’s Life Would be Taken or Intending that
                      Lethal Force Would be Used in Connection with an Individual

       O’Reilly’s taped confession contains statements that show O’Reilly’s participation

in the bank robbery was not with the thought that an individual’s life would be taken, or

the intention that lethal force would be used against an individual. O’Reilly says:

1.     He did not go to the bank trying to kill Stephens; and


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2.     He would not kill someone who does not need to be killed.

       Based on these statements, O’Reilly’s motion to strike this statutory aggravating

factor is DENIED WITHOUT PREJUDICE. O’Reilly may renew his motion if there is a

penalty phase to the trial. The Court will then determine whether the evidence

presented at the guilt phase was such that a reasonable jury could find this statutory

aggravating factor beyond a reasonable doubt.

       B.     O’Reilly Shot Stephens From Behind, and While Stephens was
              Already Wounded and on the Ground (Non-Statutory Aggravating
              Factor)

       The Government says the Medical Examiner from the Wayne County Medical

Examiner’s Office will testify that:

1.     Stephens was shot and killed by at least two shotgun blasts.

2.     One shotgun blast hit Stephens in his back, and one shotgun blast hit the back of
       Stephens’s legs.

3.     Both shotgun blasts were fatal and both would have caused Stephens to fall to
       the ground.

4.     It is unlikely that Stephens was turning towards the shotgun when he was struck
       in the back of his legs.

5.     The shot to Stephens’s back was in an upward direction, indicating that he may
       have been bending or on the ground when he was hit.

       Based on this testimony and O’Reilly’s taped confession that he shot Stephens

after Watson shot him, a reasonable jury could find beyond a reasonable doubt that: (1)

Watson shot Stephens in the back of his legs; and (2) O’Reilly shot Stephens in his

back while he was already wounded and on the ground.

       However, O’Reilly’s motion to strike this non-statutory aggravating factor is



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DENIED WITHOUT PREJUDICE. If the evidence at the guilt phase of the trial is not as

the Government anticipates, O’Reilly may renew his motion if there is a penalty phase.

The Court will then determine whether the evidence was such that a reasonable jury

could find this non-statutory aggravating factor beyond a reasonable doubt.

III.   CONCLUSION

       O’Reilly’s motion to strike two statutory aggravating factors – (1) Defendant

intentionally killed the victim; and (2) Defendant intentionally inflicted serious bodily

injury that resulted in the death of the victim – is DENIED.

       O’Reilly’s motion to strike the statutory aggravating factor that he intentionally

participated in an act with the thought that an individual’s life would be taken, or the

intention that lethal force would be against an individual, and Stephens died as a direct

result of the act is DENIED WITHOUT PREJUDICE.

       O’Reilly’s motion to strike the non-statutory aggravating factor that Defendant

shot Norman Stephens from behind, and while Stephens was already wounded and on

the ground is DENIED WITHOUT PREJUDICE.

       IT IS ORDERED.



                                           s/Victoria A. Roberts
                                           Victoria A. Roberts
                                           United States District Judge

Dated: October 15, 2009




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 The undersigned certifies that a copy of this
 document was served on the attorneys of
 record by electronic means or U.S. Mail on
 October 15, 2009.

 s/Linda Vertriest
 Deputy Clerk




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